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                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            4 15-355-8000                             FILED
Molly C. Dwyer
Clerk of Court                                                                          JAN 8 2025
                                                                                   MOLLY c. DWYER, CLERK
                                                                                    U.S. COURT OF APPEALS

                                       DOCKETING NOTICE


       Docket Number:           25-128
       Originating Case Number: 3:23-cv-00830-VC

       Short Title :                 Smith-Washington, et al. V. TaxAct, Inc.

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity, (2) is a bankruptcy case, (3) is a criminal case
      involving an organizational victim, or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.

      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
                   Case: 25-128, 01/08/2025, DktEntry: 2.1, Page 2 of 4
         Case 3:23-cv-00830-VC Document 167 Filed 01/09/25 Page 2 of 4

Please read the enclosed materials carefully.
                           Case: 25-128, 01/08/2025, DktEntry: 2.1, Page 3 of 4
                 Case 3:23-cv-00830-VC Document 167 Filed 01/09/25 Page 3 of 4

                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           4 15-355-8000
Molly C. Dwyer
Clerk of Court



                                    TIME SCHEDULE ORDER


        Docket Number:           25-128
        Originating Case Number: 3:23-cv-00830-VC

        Case Title:                 Smith-Washington, et al. V. TaxAct, Inc.



       Monday, January 13, 2025
        James Kirkham                                      Mediation Questionnaire due
        Matthew Sessom                                     Mediation Questionnaire due

       Friday, January 24, 2025
        James Kirkham                                     Appeal Transcript Order Due
        Matthew Sessom                                    Appeal Transcript Order Due

        Friday, February 21, 2025
        James Kirkham                                     Appeal Transcript Due
        Matthew Sessom                                    Appeal Transcript Due

        Wednesday, March 26, 2025
        James Kirkham                                     Appeal Opening Brief Due
        Matthew Sessom                                    Appeal Opening Brief Due

        Monday, April 28, 2025
        Nicolas C. Smith-Washington                       Appeal Answering Brief Due
        Joyce Mahoney                                     Appeal Answering Brief Due
        Jonathan Ames                                     Appeal Answering Brief Due
        Jenny Lewis                                       Appeal Answering Brief Due
                    Case: 25-128, 01/08/2025, DktEntry: 2.1, Page 4 of 4
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 Matthew Hartz                                         Appeal Answering Brief Due
 TaxAct, Inc .                                         Appeal Answering Brief Due


If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
the transcript deadlines do not apply.
The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
